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                                                                                                                                                                                                                     UNITED STATES DISTRICT COURT
                                                                                                                                                                                                                     EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG                                                                                                                                                                                                                             MDL NO. 2179
“DEEPWATER HORIZON” in the
GULF OF MEXICO, on APRIL 20, 2010                                                                                                                                                                                                                           CIVIL ACTION NO. 2:10-MD-02179

                                                                                                                                                                                                                                                            SECTION: J

THIS DOCUMENT RELATES TO:                                                                                                                                                                                                                                   JUDGE BARBIER
ALL ACTIONS                                                                                                                                                                                                                                                 MAG. JUDGE SHUSHAN



                                                                                              PLAINTIFF, MALCOLM COCO’S, SUPPLEMENTAL OPPOSITION TO
                                                                                                 NALCO COMPANY’S MOTION FOR SUMMARY JUDGMENT

                                                           On July 31, 2012, the Times Picayune ran an article1 detailing a new study2, published on

the same day, indicating that the dispersed oil and the dispersants used in the Gulf have affected

the food chain and as such will affect the commercial seafood industry in the years to come. BP

used over 1.8 million gallons of dispersants, more than 770,000 gallons of this at the site of the

oil’s source on the Gulf floor. Never before has this amount of dispersants been used in one

location or used a mile below the surface.

                                                           The study found a significant drop in the number of plant-like phytoplankton when

dispersant or dispersed oil was introduced into the environment. This drop basically eliminates

the middle part of the food web. Phytoplanktons are eaten by zooplankton, which in turn are

eaten by tiny crustaceans, which are then eaten by fish.

                                                           The study also found that it could take years for this damage to show itself in the way of

reduced catches for the commercial fishery industry. As an example, the article sites the herring

industry in Alaska after the Exxon Valdez spill. The spill occurred in 1989 but it was not until

1993 that the Herring industry saw a drop in the number of spawning adults by three-quarters.

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
1
       	  See	  Exhibit	  1	  
2
       	  See	  Exhibit	  2,	  Dispersed	  Oil	  Disrupts	  Microbial	  Pathways	  in	  Pelagic	  Food	  Webs,	  PLoS	  ONE,	  July	  31,	  2012.	  
                                                                                                                                                                                                                                                    1	  
	  
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The Herring industry did not collapse till almost four years after the spill and still has not

recovered.

         Plaintiff, Malcolm Coco, contends that this is another element of the Corexit that was

never disclosed to any of the parties either during the selection process or prior to the use of the

dispersant and if this information was ever disclosed, the government would have not have

authorized its use to combat the spilled oil. It does not help anyone if we stop the oil from

destroying the Gulf of Mexico Ecosystem by using a product, Corexit that does the exact same

thing.

                                                          Respectfully submitted,

                                                          S//Daniel E. Becnel, Jr.
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                                 CERTIFICATE OF SERVICE


        I hereby certify that on this 1st day of August 2012, the foregoing document was filed
electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will be
sent to Don K. Haycraft, James P. Roy and Stephen J. Herman by operation of the Court’s
electronic filing system and to all counsel of record through the Lexis Nexis File & Serve.

                                               S//Daniel E. Becnel, Jr.
                                               Daniel E. Becnel, Jr.




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